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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                    No. 4:14CR00010 JLH

ROBERT YOUNG, JR.                                                                    DEFENDANT

                                             ORDER

       Robert Young, Jr.’s unopposed emergency motion for temporary release is GRANTED.

Documents #390 and #391. Young will be released from detention from March 20, 2015, at 8:00

a.m., through March 22, 2015, at 8:00 a.m., so that he may attend visitation and funeral services for

his grandmother. Young’s release is contingent, however, upon Young providing to the probation

office the name, address, and telephone number of a third party custodian who will pick him up from

his place of detention, with whom he will stay while he is on temporary release, and who will return

him to detention. The name, address, and telephone number of the third party custodian must be

provided to the probation office immediately so that the probation office can conduct a background

check and ensure that this person is not a felon and is a suitable person for a third party custodian

for this limited purpose. Young may not be released unless and until the probation office contacts

the United States Marshal Service and gives notice that information regarding the third party

custodian has been received, and the third party custodian is approved.

       IT IS SO ORDERED this 19th day of March, 2015.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
